Case 3:16-cv-00547-CRS-CHL Document 5 Filed 08/25/16 Page 1 of 2 PageID #: 18




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION

DEBORAH NELSON                     )
                                   )
         PLAINTIFF,                )
                                   )
v.                                 )                                       3:16-CV-547-CRS
                                                        Civil Action No. _______________
                                   )
GORDON BIERSCH BREWERY             )                    NOTICE OF REMOVAL
RESTAURANT GROUP AND CRAFTWORKS )
RESTAURANT & BREWERIES GROUP, INC. )
                                   )
         DEFENDANTS                )


         CORPORATE DISCLOSURE STATEMENT OF DEFENDANTS
    GORDON BIERSCH BREWERY RESTAURANT GROUP AND CRAFTWORKS
                RESTAURANT & BREWERIES GROUP, INC
       Defendants Gordon Biersch Brewery Restaurant Group Inc. (“Gordon Biersch”) and

Craftworks Restaurants & Breweries Groups, Inc. (“Craftworks”), by counsel, hereby submit this

Disclosure Statement pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and state as

follows:

       1.     Craftworks is the parent company of Gordon Biersch.

       2.     No publicly held corporation owns 10% or more of the stock of either Craftworks

or Gordon Biersch.


DATED: August 25, 2016

                                           Respectfully submitted,

                                           /s/ Douglas C. Ballantine
                                           Douglas C. Ballantine
                                           Kathryn S. Beck
                                           STOLL KEENON OGDEN PLLC
                                           2000 PNC Plaza
                                           500 West Jefferson Street
                                           Louisville, KY 40202
Case 3:16-cv-00547-CRS-CHL Document 5 Filed 08/25/16 Page 2 of 2 PageID #: 19




                                           Tel: (502) 333-6000
                                           Fax: (502) 333-6099
                                           E-mail: douglas.ballantine@skofirm.com
                                           E-mail: kathryn.beck@skofirm.com

                                           Counsel for Defendants Gordon Biersch Brewery
                                           Restaurant Group Inc. and Craftworks Restaurants
                                           & Breweries Groups, Inc.



                               CERTIFICATE OF SERVICE

    I hereby certify that the foregoing was served by the Clerk of the Court using the Court’s
Electronic Case Filing (ECF) system and U.S. Mail this 25th day of August, 2016, upon the
following:

   Kevin B. Sciantarelli, Esq.
   SCIANTARELLI LAW FIRM
   4350 Brownsboro Road, Suite 110
   Louisville, Kentucky 40207
   (502) 893-4558
   Counsel for Plaintiff

                                           /s/ Douglas C. Ballantine
                                           Counsel for Defendants Gordon Biersch Brewery
                                           Restaurant Group Inc. and Craftworks Restaurants
                                           & Breweries Groups, Inc.
